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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                 )
FEDERAL TRADE COMMISSION                         )
                                                 )
                       Plaintiff,                )
                                                 )
       v.                                        )
                                                 )
TRONOX LIMITED                                   )
                                                 )
                                                 )
                                                 )
NATIONAL INDUSTRIALIZATION                       ) CIVIL ACTION
COMPANY                                          ) 1:18-cv-01622 (TNM)
                                                 )
                                                 )
NATIONAL TITANIUM DIOXIDE                        )
COMPANY LIMITED                                  )
                                                 )
                       and                       )
                                                 )
CRISTAL USA INC.                                 )
                                                 )
                       Defendants.               )
                                                 )
                                                 )
                                                 )

                  TRONOX’S RESPONSE TO PLAINTIFF’S NOTICE OF
                          SUPPLEMENTAL AUTHORITY

       Plaintiff Federal Trade Commission (“FTC”) calls to the Court’s attention FTC v. Wilhelm

Wilhelmsen Holding ASA, et al., No. 18-cv-00414 (D.D.C. July 21, 2018). That decision, however,

does not support a preliminary injunction here.        Rather, the marked differences between

Wilhelmsen and this case only underscore that the FTC cannot meet its burden to prove that

injunctive relief would be in the public interest. See 15 U.S.C. § 53(b).

       Wilhelmsen addressed a proposed merger of two companies that were “each other’s closest

and only realistic competition,” Slip op. at 1, in a “cluster market” of products that are not
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interchangeable but are “frequently sold together,” id. at 19. The Court also found “that there are

no reasonable substitutes for BWT or CWT products and services.” Id. at 16. Needless to say,

none of that is relevant here; even on the FTC’s gerrymandered account, there are at least five

competitors (in truth, there are many more), and the FTC does not advance a “cluster market”

theory. Wilhelmsen was essentially a merger to monopoly of the most significant players in the

relevant industry, leaving the next closest competitor with only 4% of the market. By contrast,

Chemours is actually the largest TiO2 producer in the North American market, and even post-

merger, two other significant players will remain. Moreover, for most uses, chloride-process TiO2

and sulfate-process TiO2 are interchangeable, thus preventing price increases. See, e.g., Hill, Tr.

2024:2-9 (“technically, I believe that [chloride-process and sulfate-process] could be substituted

in almost every coatings use”); Hill, Tr. 2018:15-18 ( “with respect to plastics customers whose

testimony [Dr. Hill] reviewed, [he] believe[s] that all of them say they use both chloride and

sulfate”); Hill, Tr. 1908:6-12 (Hill testimony that a loss of only 15.4% of current purchased of

chloride TiO2 in North America—from either switching to sulfate-process, purchasing chloride-

process abroad through arbitrage, or stopping or reduction of TiO2 use of any kind—would render

a 10% price increase unprofitable). Notably, the FTC does not claim that Wilhelmsen’s facts are

similar to those here.

       Wilhelmsen also does not support the FTC’s legal arguments. To begin, the FTC advanced

different theories of harm in these two cases. In Wilhelmsen, the FTC argued that harm would

result in the form of price increases after the loss of significant head-to-head competition between

Wilhelsen and its target (and competitor), Drew Marine. The FTC has never ventured such a

theory in this case, arguing instead that the Tronox-Cristal transaction will lead to unilateral output

reduction and coordinated effects. Additionally, the FTC, observes that Wilhelmsen addresses the



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“standard for a preliminary injunction under Section 13(b).” But Wilhelmsen says nothing new—

it quotes essentially the same mix of binding and non-binding authority that the FTC has already

cited. Wilhelmsen also does not undermine Tronox’s argument that the Court has discretionary

authority to issue a “hold separate order.” FTC v. Weyerhaeuser, 665 F.2d 1072, 1085-87 (D.C.

Cir. 1981). Unlike the merger in this case, where even the FTC concedes that the alleged

competitive overlap is at most a small part of the transaction, see, e.g., FTC Pre-trial Brief, FTC

Dkt. 9377, at 53 (stating that the North American facilities “are at the core of the anticompetitive

effects”); FTC Closing Statements, DDC Tr. 883:14-20 (“[W]e are focused on North America . . .

[and] Ashtabula does make the Cristal North American business in some sense.”), in Wilhelmsen,

the two parties overlapped with each other “on a global scale.” Slip. op. at 1; see also id. at 12.

       The FTC notes that Wilhelmsen addresses “market definition,” which, the FTC argues, “is

focused on demand substitution, not potential supply responses.” Yet Wilhelmsen does not suggest

that that the predictable response of competing suppliers to a price increase is irrelevant to market

definition—which would conflict with basic economics. At most, Wilhelmsen says that the fact

that competitors could “easily reorganize” to create a competing product in response to a merger

“relates to ease of entry into the market, not to current market conditions.” Slip op. at 33 n.6. But

in this case, the evidence shows that if prices were to increase in the United States, current

competitors would promptly increase supply—there is no need for any “reorganization.”

       Next, the FTC observes that Wilhelmsen cites “ordinary course documents and customer

testimony.” But Tronox has never suggested that such materials are irrelevant. Instead, in this

case, those materials should be given little evidentiary weight because the FTC has cherry-picked

and misread documents, see, e.g., United States v. AT & T Inc., 310 F. Supp. 3d 161, 204-210

(D.D.C. 2018) (giving little weight to “ordinary course documents” in an analogous context), and



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the FTC’s customer testimony is also cherry-picked and biased, see, e.g., Transcript of Preliminary

Injunction Hearing, 798:22 (Aug. 9, 2018) (“THE COURT: PPG, their stake is obvious to me.”).

The FTC also cannot rely on expert analysis where that analysis is flawed. The Wilhelmsen court,

for instance, was not presented with Dr. Hill’s “Capacity Closure Model.”

       The FTC next asserts that Wilhelmsen demonstrates “defendants’ burden of production in

asserting entry and expansion … and efficiencies.” The FTC cannot dispute, however, that it bears

the burden of proving every element of its claim, including that the public interest requires

enjoining this global merger in all respects and that a lesser remedy would not suffice. Nothing in

Wilhelmsen relieves the FTC of its statutory burden of proof, nor does Wilhelmsen undermine the

abundant evidence presented that this merger will expand output and benefit consumers.

       Finally, the FTC observes that the Wilhelmsen court “weigh[ed] public and private

equities.” Yet Wilhelmsen is distinguishable on this issue too; most importantly, unlike in this

case, the FTC in Wilhelmsen established a likelihood of success and the court concluded that

“Defendants’ claimed efficiencies cannot be independently verified.” Slip op. at 61. Neither is

true here. The Wilhelmsen court also was not confronted with deliberately dilatory behavior by

the FTC, see id. at 8 (explaining that the FTC sought an injunction before the administrative trial,

not afterwards, as in this case), which also strongly counsels against an equitable remedy.

 Dated: August 31, 2018                       Submitted By:

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